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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              :
                                       :
      v.                               :     Case No. 1:21-cr-00699-JDB
                                       :
JOLY GERMINE, et. al.,                 :
    Defendant.                         :


             DEFENDANT JOLY GERMINE’S MOTION
   FOR GOVERNMENT TO PROVIDE NOTICE OF EXPERT WITNESSES

      COMES NOW defendant Joly Germine, by and through his undersigned

counsel, and hereby respectfully moves this Court for the entry of an Order

directing the government to provide notice of its intent to call expert witnesses as

soon as possible, but in no event no less than two weeks before trial and, at the

same time any expert is so designated, to produce the following to the defendant:

      1.      Experts & Resumes:    The curriculum vitae of any and all experts the

government intends to call at trial and/or at a pre-trial motions’ hearing as to any

defense pre-trial motion, including any and all books, treatises, or other papers

written by the expert which is relevant to his/her testimony.

      2.      Experts Records & Summaries:      Production of any and all reports of

any examinations or tests is requested pursuant to Fed. Rule Crim. P. 16.           In

addition, it is requested that the government disclose a written summary of the

testimony the government intends to use under Fed. Rule Evid. 702, 703 or 705. As

required by Fed. Rule Crim. P. 16(a)(1)(G), the summaries must describe the

witnesses’ opinions, the basis and reasons therefore, and the witnesses’

qualifications.
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      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, defendant Joly Germine respectfully moves this Court for

the entry of an Order directing the government the government to provide notice of

its intent to call expert witnesses and as soon as possible and in no event no less

than two weeks before trial, at the same time any expert is so designated, to

produce the herein requested materials.

                                                Respectfully submitted,



                                                                      Digitally signed
                                                Allen H.              by Allen H.
                                                                      Orenberg
                                                Orenberg              Date: 2023.09.05
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                                                ___________________________
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                                                Counsel for Joly Germine




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 5th day of September, 2023 I electronically filed

the foregoing Motion for Government to Provide Notice of Expert Witnesses, and a

proposed Order, with the Clerk of the Court. Participants in the case who are

registered CM/ECF users will be served by the District Court’s CM/ECF.




                                                                 Digitally signed
                                        Allen H.                 by Allen H.
                                                                 Orenberg
                                        Orenberg                 Date: 2023.09.05
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                                              Allen H. Orenberg




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